803 F.2d 714Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Samuel Theodore Wright, Plaintiff - Appellantv.Iva Purdy, Clerk, Defendant - Appellee.
    No. 86-6631.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 15, 1986.Decided Oct. 10, 1986.
    
      Before RUSSELL, PHILLIPS and ERVIN, Circuit Judges.
      PER CURIAM.
    
    
      1
      (Samuel Theodore Wright, Appellant Pro Se.  Stacy F. Garrett, Commonwealth's Attorney's Office, for Appellee.)
    
    PER CURIAM:
    
      2
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec.  1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Wright v. Purdy, C/A No. 85-878-R (E.D.Va., June 3, 1986).*
    
    
      
        *
         We affirm the judgment below without prejudice to petitioner's right to renew his motion in the event there is a habeas petition
      
    
    